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                           UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF DELAWARE

NATHANIEL JOHNSON,               )
                                 )
                    Plaintiff,   )
      v.                         )                  C.A. NO.: 1:17-cv-01171-GMS
                                 )
SUN EAST FEDERAL CREDIT UNION )
and TRANS UNION, LLC, a Delaware )
Limited Liability Corporation,   )
                                 )
                                 )
                    Defendants.  )

            STIPULATION OF DISMISSAL of SUN EAST FEDERAL CREDIT

                            UNION PURSUANT TO RULE 41(a)

       It is hereby stipulated by and between the Plaintiff, Nathaniel Johnson, and Defendant,

Sun East Federal Credit Union, that the above-captioned matter be dismissed as to Sun East

Federal Credit Union with prejudice pursuant to Fed. Rule Civ. Pro. 41(a)(1)(A)(ii). The action

shall be and hereby is dismissed as to Sun East Federal Credit Union with prejudice with each

party to bear its own costs and attorneys fees. A judgment of dismissal with prejudice may be

entered in the case.


LAW OFFICE OF MARY HIGGINS                          GORDON & REES SCULLY
                                                    & MANSUKHANI
s/Mary Higgins                                      /s/ Michael C. Heyden, Jr.
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Attorney for Plaintiff Nathaniel Johnson

Dated: March 12, 2018                               Dated: March 12, 2018
